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             IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF WISCONSIN
_______________________________
FREEDOM FROM RELIGION          )
FOUNDATION, et al.,            )
                Plaintiffs,    )
v.                             )      Civil Action No. 09-CV-439
STEPHEN AYERS,                 )
ACTING ARCHITECT OF            )
THE CAPITOL                    )
                Defendant.     )
______________________________ )

       Brief Amicus Curiae of the American Center for Law and Justice,
   United States Representative Randy Forbes, United States Senators Jim
DeMint, James Inhofe, and Roger Wicker, and United States Representatives
Robert Aderholt, Todd Akin, Rodney Alexander, Michele Bachmann, Roscoe
  Bartlett, Rob Bishop, Marsha Blackburn, Roy Blunt, John Boehner, John
  Boozman, Dan Burton, Eric Cantor, Mike Conaway, Virginia Foxx, Scott
  Garrett, Bob Goodlatte, Ralph Hall, Gregg Harper, Jeb Hensarling, Bob
Inglis, Sam Johnson, Walter Jones, Jim Jordan, Steve King, John Kline, Doug
  Lamborn, Don Manzullo, Kevin McCarthy, Thaddeus McCotter, Patrick
   McHenry, Cathy McMorris Rodgers, Candice Miller, Jeff Miller, Jerry
    Moran, Randy Neugebauer, Mike Pence, Joseph Pitts, Ted Poe, John
   Shadegg, John Shimkus, Bill Shuster, Mark Souder, Todd Tiahrt, Zack
              Wamp, Joe Wilson, and Don Young in Support of
                       Defendant’s Motion to Dismiss


Geoffrey R. Surtees                      Jay Alan Sekulow*
      Counsel of Record                  Stuart J. Roth*
AMERICAN CENTER FOR LAW &                Shannon B. Demos*
   JUSTICE                               AMERICAN CENTER FOR LAW &
6375 New Hope Rd.                            JUSTICE
New Hope, KY 40052                       201 Maryland Ave., NE
Phone: (502) 549-7020                    Washington, DC 20002
Fax: (502) 549-7110                      (202) 546-8890
                                         * - Not admitted in this court

                              Counsel for Amici
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                             INTEREST OF AMICI∗

      Amicus, the American Center for Law and Justice (ACLJ), is an organization

dedicated to the defense of constitutional liberties secured by law. ACLJ attorneys

have argued in numerous cases involving First Amendment issues before the

Supreme Court of the United States and other federal and state courts. See, e.g.,

Pleasant Grove City v. Summum, 172 L. Ed. 2d 853 (Feb. 25, 2009); McConnell v.

FEC, 540 U.S. 93 (2003); Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist.,

508 U.S. 384 (1993); Bd. of Educ. v. Mergens, 496 U.S. 226 (1990); Bd. of Airport

Comm’rs v. Jews for Jesus, 482 U.S. 569 (1987).

      Amici United States Representative Randy Forbes, United States Senators

Jim DeMint, James Inhofe, and Roger Wicker, and United States Representatives

Robert Aderholt, Todd Akin, Rodney Alexander, Michele Bachmann, Roscoe

Bartlett, Rob Bishop, Marsha Blackburn, Roy Blunt, John Boehner, John

Boozman, Dan Burton, Eric Cantor, Mike Conaway, Virginia Foxx, Scott Garrett,

Bob Goodlatte, Ralph Hall, Gregg Harper, Jeb Hensarling, Bob Inglis, Sam

Johnson, Walter Jones, Jim Jordan, Steve King, John Kline, Doug Lamborn, Don

Manzullo, Kevin McCarthy, Thaddeus McCotter, Patrick McHenry, Cathy


∗
  This brief is filed upon Motion to the Court and with the consent of the parties.
Amicus ACLJ discloses that no counsel for any party in this case authored in
whole or in part this brief and that no monetary contribution to the preparation of
this brief was received from any person or entity other than amici curiae.


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McMorris Rodgers, Candice Miller, Jeff Miller, Jerry Moran, Randy Neugebauer,

Mike Pence, Joseph Pitts, Ted Poe, John Shadegg, John Shimkus, Bill Shuster,

Mark Souder, Todd Tiahrt, Zack Wamp, Joe Wilson, and Don Young are currently

serving in the One Hundred Eleventh Congress.

      Amici have dedicated time and effort to defending and protecting

Americans’ First Amendment freedoms. It is this commitment to the integrity of

the United States Constitution and Bill of Rights that compels them to support

dismissal of the Plaintiffs’ Complaint. Plaintiffs’, and specifically the Freedom

From Religion Foundation’s, strategy to purge all religious observances and

references from American public life must not be permitted to move forward.

      Plaintiffs’ crusade, targeting religious expression in the federal government,

serves no purpose other than to waste judicial resources at a time in our Nation’s

history when those resources are needed in cases involving real threats to

American liberties. Moreover, if Plaintiffs are successful, it will undoubtedly

embolden further challenges to other religious expressions in government venues,

including the several religious works of art1 and various religious inscriptions in




1
  For example, in the Rotunda of the Capitol Building are paintings with religious
themes, such as The Apotheoisis of Washington, depicting the ascent of George
Washington into Heaven, and the Baptism of Pocahontas, portraying Pocohontas
being baptized by an Anglican minister.

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the Capitol Complex,2 as well as the prayer rooms in House and Senate Office

buildings.3

      Amici take the position that the national motto “In God We Trust” and the

Pledge of Allegiance in no way violate the Establishment Clause of the First

Amendment to the United States Constitution. These expressions simply echo the

sentiments found in the Declaration of Independence and recognize the undeniable

truth that our freedoms come from a source higher than the state. These sentiments

were adopted for the express purpose of reaffirming America’s unique

understanding of this truth. While the First Amendment affords atheists complete

freedom to disbelieve, it does not compel the federal judiciary to redact religious

references in every area of public life in order to suit atheistic sensibilities.

      Amici urge this Court to uphold the use of “In God We Trust” and the Pledge

of Allegiance by granting the Defendant’s motion to dismiss Plaintiffs’ claims.

2
  For example, a wall in the Cox Corridor of the Capitol is inscribed with a line
from Katherine Lee Bates’ Hymn, America the Beautiful, “America! God shed his
grace on Thee, and crown thy good with brotherhood from sea to shining sea.” In
the prayer room of the House Chamber, two distinctly religious statements are
inscribed: 1) “Annuit coeptus,” which means God has favored our undertakings;
and 2) “Preserve me, O God, for in thee do I put my trust,” Psalm 16:1.
3
  Plaintiffs’ overall strategy seeks to proscribe religious expression well beyond the
display of the national motto and the Pledge of Allegiance including presidential
addresses invoking the name of God, the use of legislative chaplains, the
invocation “God save the United States and this Honorable Court” prior to judicial
proceedings, oaths of public officers, court witnesses, and jurors and the use of the
Bible to administer such oaths, the use of “in the year of our Lord” to date public
documents, the Thanksgiving and Christmas holidays, the National Day of Prayer,
and the phrase “under God” in the Pledge of Allegiance.

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                            SUMMARY OF ARGUMENT

      The government’s use and display of this country’s national motto, “In God

We Trust,” (“the Motto”), and the Pledge of Allegiance (“the Pledge”), are fully

consistent with the Establishment Clause of the First Amendment to the United

States Constitution. The words of both the motto and the Pledge echo the

conviction held by this Nation’s Founders that our freedoms come from God.

Congress codified “In God We Trust” as our national motto for the express

purpose of reaffirming America’s unique history and understanding of this truth,

and to distinguish America from atheistic nations who recognize no higher

authority than the State.

      Practically every court that has decided the issue has held that the national

motto and the Pledge of Allegiance present no Establishment Clause concerns. For

example, in Aronow v. United States, 432 F.2d 242 (9th Cir. 1970), the Ninth

Circuit Court of Appeals dismissed an identical challenge to federal statutes

requiring the national motto to be inscribed on U.S. currency:

      It is quite obvious that the national motto and the slogan on coinage
      and currency “In God We Trust” has nothing whatsoever to do with
      the establishment of religion. Its use is of a patriotic or ceremonial
      character and bears no true resemblance to a governmental
      sponsorship of a religious exercise. . . . While “ceremonial” and
      “patriotic” may not be particularly apt words to describe the category
      of the national motto, it is excluded from First Amendment
      significance because the motto has no theological or ritualistic impact.

Id. at 243.


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      In Sherman v. Community Consolidated School District 21, 980 F.2d 437,

445 (7th Cir. 1992), the Seventh Circuit further stated, “Unless we are to treat the

founders of the United States as unable to understand their handiwork (or, worse,

hypocrites about it), we must ask whether those present at the creation deemed

ceremonial invocations of God as ‘establishment.’ They did not.”

      Although the Supreme Court has never decided a case directly involving the

constitutionality of the Motto or the Pledge, its Establishment Clause jurisprudence

strongly indicates that the display of either raises no Establishment Clause issues.

The Supreme Court repeatedly has explained that government use of religious

references is consistent with the Establishment Clause. Moreover, numerous

pronouncements by past and present members of the Supreme Court expressly

state that the Motto “In God We Trust” and the Pledge of Allegiance pose no

Establishment Clause problems.

      This Court should grant Defendant’s motion to dismiss. A decision holding

a display of the Motto or the Pledge unconstitutional would have far-reaching

ramifications affecting countless other historical religious references that exist in

the public arena. In addition, it would render constitutionally suspect a number of

public school practices that traditionally have been considered an important part of

American public education. For example, there is no principled means of

distinguishing between the use of “In God We Trust” as the national motto and



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recitation of the Pledge of Allegiance or any other passages from historical

documents reflecting the same truth. The Declaration of Independence and the

Gettysburg Address contain the same recognition that the nation was founded upon

a belief in God. Holding the Motto or the Pledge unconstitutional would cast

substantial doubt upon whether a public school teacher could require students to

memorize portions of either the Declaration or the Gettysburg Address. Such a

decision would also likely foreclose the nation’s school districts from teaching

students to sing and appreciate the nation’s patriotic music as well as a vast

universe of classical music with religious themes.

                                     ARGUMENT

      It is commonly understood that our government, its Constitution, and its

laws are founded on a belief in God. Mere acknowledgment of God by the

government or government officials cannot be said to be an “establishment of

religion” in violation of the Establishment Clause of the United States

Constitution.

I.    BOTH THE NATIONAL MOTTO “IN GOD WE TRUST” AND THE
      PLEDGE OF ALLEGIANCE ACCURATELY REFLECT THE
      HISTORICAL FACT THAT THIS NATION WAS FOUNDED UPON
      A BELIEF IN GOD.

      This Nation’s Founders based a national philosophy on a belief in Deity. The




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Declaration of Independence4 and the Bill of Rights locate the source of inalienable

rights in a Creator rather than in government precisely so that such rights cannot be

stripped away by government. In 1782, Thomas Jefferson wrote, “[C]an the

liberties of a nation be thought secure when we have removed their only firm basis,

a conviction in the minds of the people that these liberties are the gift of God?

That they are not to be violated but with His wrath?” Thomas Jefferson, Notes on

Virginia Q.XVIII (1782). The Founders may have differed over the contours of the

relationship between religion and government, but they never deviated from the

conviction that “there was a necessary and valuable moral connection between the

two.” Philip Hamburger, Separation of Church and State 480 (2002).

      The nation’s history is replete with examples of acknowledgment of

religious belief in the public sector. Since the Founding of the Republic,5 American

Presidents have issued Thanksgiving Proclamations establishing a national day of


4
  The Declaration of Independence recognizes that human liberties are a gift from
God: “all men are created equal, that they are endowed by their Creator with
certain unalienable Rights.” The Declaration of Independence para. 2 (U.S. 1776)
(emphasis added). Jefferson wrote further that the right to “dissolve the political
bands” connecting the Colonies to England derives from Natural Law and
“Nature’s God.” Id. para. 1. The Founders also believed that God holds man
accountable for his actions as the signers of the Declaration “appeal[ed] to the
Supreme Judge of the world to rectify their intentions.” Id. para. 32. In 1774,
Jefferson wrote that “The God who gave us life gave us liberty at the same time;
the hand of force may destroy, but cannot disjoin them.” Thomas Jefferson, Rights
of British America, 1774. ME 1:211, Papers 1:135.
5
  The following historical summary was distilled from Justice Kennedy’s
dissenting opinion in County of Allegheny v. ACLU, 492 U.S. 573, 671-72 (1989).

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celebration and prayer. At the request of the First Congress, President Washington

issued the first such proclamation, in which he wrote that it is the “duty of all

nations to acknowledge the providence of Almighty God, to obey His will, to be

grateful for His benefits, and humbly to implore His protection and favor.” Jared

Sparks, The Writings of George Washington, Vol. XII, p. T19 (1833-1837). He

further “recommend[ed] and assign[ed]” a day “to be devoted by the people of

these States to the service of that great and glorious Being who is the beneficent

author of all the good that was, that is, or that will be,” so that “we may then unite

in most humbly offering our prayers and supplications to the great Lord and Ruler

of Nations, and beseech Him to . . . promote the knowledge and practice of true

religion and virtue . . . .” 1 J. Richardson, A Compilation of Messages and Papers

of the Presidents, 1789-1897, p. 64 (1899).

      Most of President Washington’s successors followed suit, and the

forthrightly religious nature of these proclamations has not waned with the years.

President Franklin D. Roosevelt went so far as to “suggest a nationwide reading of

the Holy Scriptures during the period from Thanksgiving Day to Christmas” so

that “we may bear more earnest witness to our gratitude to Almighty God.”

Presidential Proclamation No. 2629, 58 Stat. 1160. Similarly, our Presidential

inaugurations traditionally have opened with a request for divine blessing. See

generally Inaugural Addresses of the Presidents of the United States, S. Doc. No.



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10, 101st Cong., 1st Sess. (1989).

      The Executive has not been the only Branch of our Government to recognize

the central role of religion in our society. Federal courts, including the Supreme

Court of the United States, open sessions with the request that “God save the

United States and this honorable Court.” The Legislature has gone much further,

not only employing legislative chaplains, see 2 U.S.C. § 61d, but also setting aside

a special prayer room in the Capitol for use by Members of the House and Senate.

The room is decorated with a large stained glass panel that depicts President

Washington kneeling in prayer; around him is etched the first verse of the 16th

Psalm: “Preserve me, O God, for in Thee do I put my trust.” Beneath the panel is a

rostrum on which a Bible is placed; next to the rostrum is an American Flag. See

L. Aikman, We the People: The Story of the United States Capitol 122 (1978).

      The United States Code itself contains religious references. Following the

historical practice, Congress has directed the President to “issue each year a

proclamation designating the first Thursday in May as a National Day of Prayer on

which the people of the United States may turn to God in prayer and meditation at

churches, in groups, and as individuals.” 36 U.S.C. § 119.6 This statute does not


6
  On April 17, 1952, President Truman signed Congress's Public Law 324 that
marked the first Thursday in May as a day of Prayer. However, this law only
established a National Day of Prayer; it did not fix the day, and the day varied
according to each president’s proclamation date. But, in 1988, Congress amended
the law and fixed the date to the first Thursday in May. President Reagan signed

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require anyone to pray, but it is a straightforward acknowledgement of the concept

of “turn[ing] to God in prayer.” Also by statute, the Pledge of Allegiance to the

Flag describes the United States as “one Nation under God.” Likewise, our

national motto, “In God we trust,” 36 U.S.C. § 302, is prominently engraved in the

wall above the Speaker’s dais in the Chamber of the House of Representatives and,

by mandate of Congress and the President, see 31 U.S.C. § 5112(d)(1) (1982 ed.),

is reproduced on every coin minted and every dollar printed by the Federal

Government.

      The Motto and Pledge are consistent with the historical recognition of the

role of religion in American history. Indeed, use of the slogan “In God We Trust”

dates back to the War of 1812. In September 1814, fearing for the fate of America

while watching the British bombardment of Fort McHenry in Baltimore, Francis

Scott Key composed the poem the “Star Spangled Banner,” of which one line in

the final stanza is “And this be our motto—‘In God is our trust.’”7 When Congress

codified the longstanding motto in 1956, it articulated a secular purpose of patriotic

inspiration: “It will be of great spiritual and psychological value to our country to

have a clearly designated national motto of inspirational quality in plain, popularly

the amendment into law. See Research Report, The Pluralism Project, Harvard
University, available at
http://pluralism.org/research/profiles/display.php?profile=74229.
7
  Steven Epstein, Rethinking the Constitutionality of Ceremonial Deism, 96
COLUM. L. REV. 2083, 2122 (1996) (citing George J. Svejda, History of the Star
Spangled Banner From 1814 to the Present ii (1969)).

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accepted English.” House Report No. 84-1959, 1956 Cong. & Admin. News, p.

3720.

        Likewise, the phrase “one Nation under God” in the Pledge of Allegiance

simply describes an indisputable historical fact. As one commentator has observed,

the Pledge

        accurately reflects how the founding generation viewed the separation
        of powers as the surest security of civil right. Anchoring basic rights
        upon a metaphysical source is very much part of that structural
        separation, for without God, the law is invited to become god. This was
        well known to Rousseau and Marx who both complained that
        acknowledging God creates a competition or check upon the secular
        state.

Douglas W. Kmiec, Symposium on Religion in the Public Square: Forward: Oh

God! Can I Say that in Public?, 17 NOTRE DAME J.L. ETHICS & PUB. POL’Y 307,

312-13 (2003).

II.     THE FIRST AMENDMENT DOES NOT COMPEL THE
        REDACTION OF ALL REFERENCES TO GOD JUST TO SUIT
        ATHEISTIC PREFERENCES.

        It is clear from the Supreme Court’s Establishment Clause jurisprudence that

the Constitution is not to be interpreted in a manner that would purge religion or

religious reference from society. In 1892, the Supreme Court stated that “this is a

religious nation.” Church of the Holy Trinity v. United States, 143 U.S. 457, 470

(1892). The Court has discussed the historical role of religion in our society and

concluded that “[t]here is an unbroken history of official acknowledgment by all



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three branches of government of the role of religion in American life from at least

1789.” Lynch v. Donnelly, 465 U.S. 668, 674 (1984). In Abington v. Schempp, 374

U.S. 203, 212 (1963), the Court recognized that “religion has been closely

identified with our history and government.” Such recognition of the primacy of

religion in the Nation’s heritage is nowhere more affirmatively expressed than in

Zorach v. Clauson, 343 U.S. 306 (1952):

      We are a religious people whose institutions presuppose a Supreme
      Being. We guarantee the freedom to worship as one chooses. We
      make room for as wide a variety of beliefs and creeds as the spiritual
      needs of man deem necessary. We sponsor an attitude on the part of
      government that shows no partiality to any one group and that lets
      each flourish according to the zeal of its adherents and the appeal of
      its dogma. When the state encourages religious instruction or
      cooperates with religious authorities by adjusting the schedule of
      public events to sectarian needs, it follows the best of our traditions.
      For it then respects the religious nature of our people and
      accommodates the public service to their spiritual needs. To hold that
      it may not would be to find in the Constitution a requirement that the
      government show a callous indifference to religious groups. That
      would be preferring those who believe in no religion over those who
      do believe.

Id. at 313-14 (emphasis added). Plaintiffs ask this court to do exactly what the

Supreme Court warned against in Zorach—prefer atheism over religion even to the

extent of censoring the historical fact that the United States was founded upon a

belief in God.

      One fundamental flaw in Plaintiffs’ understanding of the Establishment

Clause is that they appear to conflate religious expression and patriotic expression.



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For example, the Supreme Court consistently has distinguished between religious

exercises in public schools, which raise Establishment Clause concerns, and

patriotic exercises with religious references, which do not.

      In Engel v. Vitale, 370 U.S. 421 (1962), where the Court struck down New

York State’s law requiring school officials to open the school day with prayer, the

Court explained:

      There is of course nothing in the decision reached here that is
      inconsistent with the fact that school children and others are officially
      encouraged to express love for our country by reciting historical
      documents such as the Declaration of Independence which contain
      references to the Deity or by singing officially espoused anthems
      which include the composer’s professions of faith in a Supreme
      Being, or with the fact that there are many manifestations in our
      public life of belief in God. Such patriotic or ceremonial occasions
      bear no true resemblance to the unquestioned religious exercise that
      the State of New York has sponsored in this instance.

Id. at 435, n.21 (emphasis added).

      Just one year later, in Schempp, Justice Goldberg distinguished mandatory

Bible reading in public schools from patriotic exercises with religious references:

      The First Amendment does not prohibit practices which by any
      realistic measure create none of the dangers which it is designed to
      prevent and which do not so directly or substantially involve the state
      in religious exercises or in the favoring of religion as to have
      meaningful and practical impact. It is of course true that great
      consequences can grow from small beginnings, but the measure of
      constitutional adjudication is the ability and willingness to distinguish
      between real threat and mere shadow.

374 U.S. at 308 (Goldberg, J., concurring).



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      In Lee v. Weisman, 505 U.S. 577 (1992), a decision built in large part on

Engel, see 505 U.S. at 590-92, the Court reaffirmed the distinction it drew in Engel

between religious exercises such as state-composed prayers and patriotic exercises

with religious references:

      We do not hold that every state action implicating religion is invalid if
      one or a few citizens find it offensive. People may take offense at all
      manner of religious as well as nonreligious messages, but offense
      alone does not in every case show a violation. We know too that
      sometimes to endure social isolation or even anger may be the price of
      conscience or nonconformity. But, by any reading of our cases, the
      conformity required of the student in this case was too high an
      exaction to withstand the test of the Establishment Clause. The prayer
      exercises in this case are especially improper because the State has in
      every practical sense compelled attendance and participation in an
      explicit religious exercise at an event of singular importance to every
      student, one the objecting student had no real alternative to avoid.

Id. at 597-98 (emphasis added). Quoting with approval the above-cited language

from Justice Goldberg’s concurrence in Schempp, the Court continued:

      Our society would be less than true to its heritage if it lacked abiding
      concern for the values of its young people, and we acknowledge the
      profound belief of adherents to many faiths that there must be a place
      in the student’s life for precepts of a morality higher even than the law
      we today enforce. We express no hostility to those aspirations, nor
      would our oath permit us to do so. A relentless and all-pervasive
      attempt to exclude religion from every aspect of public life could itself
      become inconsistent with the Constitution. We recognize that, at
      graduation time and throughout the course of the educational process,
      there will be instances when religious values, religious practices, and
      religious persons will have some interaction with the public schools
      and their students.

Id. (citations omitted) (emphasis added).



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      The misused concept of a wall of “separation of church and state” does not

assist Plaintiffs’ cause. The United States Court of Appeals for the Sixth Circuit

recently issued a stinging rebuke of the ACLU’s repeated reference to that phrase,

stating: “[t]his extra-constitutional construct has grown tiresome. The First

Amendment does not demand a wall of separation between church and state. Our

Nation’s history is replete with governmental acknowledgment and in some cases,

accommodation of religion.” ACLU of Kentucky v. Mercer County, 432 F.3d 624,

638-39 (6th Cir. 2005) (citations omitted). The reasonable observer would not

conclude that the government has endorsed religion solely by authorizing the word

“God” to appear on money or stating that we are “one nation under God” in the

Pledge of Allegiance because “[s]imply having religious content or promoting a

message consistent with a religious doctrine does not run afoul of the

Establishment Clause.” See id. at 639 (quoting Van Orden v. Perry, 125 S. Ct.

2854, 2863 (2005) (plurality opinion)). This is because “the reasonable person is

not a hyper-sensitive plaintiff. Instead, he appreciates the role religion has played

in our governmental institutions, and finds it historically appropriate and

traditionally acceptable for a state to include religious influences, even in the form

of sacred texts, in honoring American legal traditions.” Id. at 639-40 (citation

omitted). In other words, the mere recognition of America’s religious heritage does

not constitute an impermissible endorsement of religion because “[t]o endorse is



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necessarily to recognize, but the converse does not follow.” Id. at 639; see also id.

(“We will not presume endorsement from the mere display of the Ten

Commandments.”).

      Although the primary issue in this case is whether the Establishment Clause

prohibits use of “In God We Trust” as the national motto and “under God” in the

Pledge, far more is at stake. As the Sixth Circuit has explained, “[i]f the reasonable

observer perceived all government references to the Deity as endorsements, then

many of our Nation’s cherished traditions would be unconstitutional, including the

Declaration of Independence and the national motto.” Id. A decision invalidating

the motto would render constitutionally suspect a number of practices that

traditionally have been considered an important part of American society. Nothing

in the Supreme Court’s Establishment Clause jurisprudence requires the relentless

extirpation of public references to God that Plaintiffs demand. Whether it be in the

national motto, the Pledge of Allegiance, patriotic music, or the nation’s founding

documents, such references are wholly consistent with the First Amendment.

      One of the more obvious casualties of such a holding would be the practice

of requiring students to learn and recite passages from many historical documents

reflecting the Nation’s religious heritage and character. If the government violates

the Establishment Clause by inscribing “In God We Trust” on coins and currency,

it is difficult to conceive of a rationale by which compelled study or recitation from



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the Nation’s founding documents would not also violate the Constitution. The

Mayflower Compact8 and the Declaration of Independence contain religious

references substantiating the fact that America’s “institutions presuppose a

Supreme Being.” See Zorach, 343 U.S. at 313; see also Newdow v. United States

Congress, 328 F.3d 466, 473 (9th Cir. 2003) (O’Scannlain, Kleinfeld, Gould,

Tallman, Rawlinson, and Clifton, J.J., dissenting from denial of rehearing en banc).

Similarly, the Gettysburg Address, though not a founding document, contains

religious language and, historically, has been the subject of required recitations in

public schools. President Lincoln declared “that this Nation, under God, shall have

a new birth of freedom, and that Government of the people, by the people, for the

people, shall not perish from the earth.” President Abraham Lincoln, The


8
 The Mayflower Compact, written by William Bradford in 1620, provides:
       We whose names are underwritten, the loyal subjects of our dread
       sovereign Lord, King James, by the grace of God, of Great Britain,
       France and Ireland king, defender of the faith, etc., having
       undertaken, for the glory of God, and advancement of the Christian
       faith, and honor of our king and country, a voyage to plant the first
       colony in the Northern parts of Virginia, do by these presents
       solemnly and mutually in the presence of God, and one of another,
       covenant and combine ourselves together into a civil body politic, for
       our better ordering and preservation and furtherance of the ends
       aforesaid; and by virtue hereof to enact, constitute, and frame such
       just and equal laws, ordinances, acts, constitutions, and offices, from
       time to time, as shall be thought most meet and convenient for the
       general good of the colony, unto which we promise all due
       submission and obedience.
Mayflower Compact, available at
http://www.project21.org/MayflowerCompact.html (emphasis added).

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Gettysburg Address (Nov. 19, 1863) (emphasis added).

        Indeed, the references to deity in these historical documents are presumably

even more problematic according to the Plaintiffs’ reasoning because they

proclaim not only God’s existence but specific dogma about God—He is involved

in the affairs of men; He holds men accountable for their actions; and He is the

Author of human liberty. Subscribing to Plaintiffs’ position will threaten a sort of

Orwellian reformation of civic life by censoring American history.

III.    THE CONSTITUTIONALITY OF THE NATIONAL MOTTO “IN
        GOD WE TRUST” AND THE REFERENCE TO GOD IN THE
        PLEDGE OF ALLEGIANCE IS WELL ESTABLISHED IN CASE
        LAW.

        Although the Supreme Court has never decided a case involving the

constitutionality of the Motto or the Pledge, numerous pronouncements by past and

present members of the Court conclude that neither poses any Establishment

Clause problems. In addition, lower courts that have addressed the issues have held

that displaying the national motto or requiring the recitation of the Pledge (much

less merely displaying it) is constitutional.

        A.    The Supreme Court in Dicta Has Specifically Noted the
              Constitutionality of the National Motto and the Pledge.

        In its Establishment Clause jurisprudence, the Supreme Court and individual

Justices have suggested on numerous occasions that the Motto and the Pledge do

not violate the Establishment Clause. For example, when the Court recently



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dismissed a challenge to the Pledge of Allegiance,9 Justice O’Connor used the

national motto as a constitutional example of “ceremonial deism”:

        Given the values that the Establishment Clause was meant to serve,
        however, I believe that government can, in a discrete category of
        cases, acknowledge or refer to the divine without offending the
        Constitution. This category of “ceremonial deism” most clearly
        encompasses such things as the national motto (“In God We Trust”),
        religious references in traditional patriotic songs such as the Star-
        Spangled Banner, and the words with which the Marshal of this Court
        opens each of its sessions (“God save the United States and this
        honorable Court”). These references are not minor trespasses upon the
        Establishment Clause to which I turn a blind eye. Instead, their
        history, character, and context prevent them from being constitutional
        violations at all.

Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 37 (2004) (O’Connor, J.,

concurring) (internal citations omitted). Justice O’Connor identified four factors

that define an instance of ceremonial deism: 1) its history and ubiquity; 2) the

absence of worship or prayer; 3) the absence of reference to a particular religion;

and 4) minimal religious content or a “highly circumscribed reference to God.” Id.

at 37-43.

        Justice O’Connor continued, acknowledging the historical underpinnings of

such religious references as “In God We Trust”:

        Just as the Court has refused to ignore changes in the religious
        composition of our Nation in explaining the modern scope of the
        Religion Clauses . . . it should not deny that our history has left its
        mark on our national traditions. It is unsurprising that a Nation
        founded by religious refugees and dedicated to religious freedom

9
    The case was ultimately dismissed for lack of standing.

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      should find references to divinity in its symbols, songs, mottoes, and
      oaths.* Eradicating such references would sever ties to a history that
      sustains this Nation even today.

      * Note, for example, the following state mottoes: Arizona (“God
      Enriches”); Colorado (“Nothing without Providence”); Connecticut
      (“He Who Transplanted Still Sustains”); Florida (“In God We Trust”);
      Ohio (“With God, All Things Are Possible”); and South Dakota
      (“Under God the People Rule”). Arizona, Colorado, and Florida have
      placed their mottoes on their state seals, and the mottoes of
      Connecticut and South Dakota appear on the flags of those States as
      well. Georgia’s newly-redesigned flag includes the motto “In God We
      Trust.” The oaths of judicial office, citizenship, and military and civil
      service all end with the (optional) phrase “[S]o help me God.” Many
      of our patriotic songs contain overt or implicit references to the
      divine, among them: “America” (“Protect us by thy might, great God
      our King”); “America the Beautiful” (“God shed his grace on thee”);
      and “God Bless America.”

Id. at 35-36.

      Finally, Justice O’Connor specifically rejected any claim of coercion by

virtue of such acts of “ceremonial deism”:

      Any coercion that persuades an onlooker to participate in an act of
      ceremonial deism is inconsequential, as an Establishment Clause
      matter, because such acts are simply not religious in character. As a
      result, symbolic references to religion that qualify as instances of
      ceremonial deism will pass the coercion test as well as the
      endorsement test. This is not to say, however, that government could
      overtly coerce a person to participate in an act of ceremonial deism.

Id. at 44. Justice O’Connor’s conclusion regarding the religious import of the

phrase “one Nation under God” in the Pledge of Allegiance applies equally to the

national motto:

      Whatever the sectarian ends its authors may have had in mind, our


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       continued repetition of the reference to “one Nation under God” in
       an exclusively patriotic context has shaped the cultural significance
       of that phrase to conform to that context. Any religious freight the
       words may have been meant to carry originally has long since been
       lost.

Id. at 41.

       Justice Stevens, writing for the Court, expressed the same sentiments:

       “The very purpose of a national flag is to serve as a symbol of our
       country.” . . . As the history illustrates, the Pledge of Allegiance
       evolved as a common public acknowledgement of the ideals that our
       flag symbolizes. Its recitation is a patriotic exercise designed to foster
       national unity and pride in those principles.

Elk Grove, 542 U.S. at 6 (quoting Texas v. Johnson, 491 U.S. 397, 405 (1989))

(citations omitted).

       Furthermore, the Establishment Clause is not so broad as to allow mere

offense to religious references in patriotic exercises to convert the exercise from

patriotic to religious. In fact, Justice O’Connor dismissed such a broad construction

of the Establishment Clause in Elk Grove, stating that

       distaste for the reference to “one Nation under God,” however sincere,
       cannot be the yardstick of our Establishment Clause inquiry. . . . It
       would be ironic indeed if this Court were to wield our constitutional
       commitment to religious freedom so as to sever our ties to the
       traditions developed to honor it.

Elk Grove, 542 U.S. at 44-45 (O’Connor, J., concurring). Justice O’Connor also

made it clear that “the Constitution does not guarantee citizens a right entirely to

avoid ideas with which they disagree. It would betray its own principles if it did;



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no robust democracy insulates its citizens from views that they might find novel or

even inflammatory.” Id. at 44.

      Justice O’Connor’s opinion in Elk Grove is consistent with other references,

both by her and other members of the Court, concerning the Motto and the Pledge.

For example, in his concurring opinion in Elk Grove, Chief Justice Rehnquist

stated that

      [t]he Constitution only requires that schoolchildren be entitled to
      abstain from the ceremony if they [choose] to do so. To give the
      parent of such a child a sort of “heckler’s veto” over a patriotic
      ceremony willingly participated in by other students, simply because
      the Pledge of Allegiance contains the descriptive phrase “under God,”
      is an unwarranted extension of the Establishment Clause, an extension
      which would have the unfortunate effect of prohibiting a
      commendable patriotic observance.

Id. at 33 (Rehnquist, C.J., concurring).

      In Lynch, Justice O’Connor observed that government acknowledgments of

religion, such as the declaration of Thanksgiving as a public holiday, printing “In

God We Trust” on coins, and opening court sessions with “God Save the United

States and this honorable court” could not be reasonably perceived as a

government endorsement of religion.

      Those government acknowledgments of religion serve, in the only
      ways reasonably possible in our culture, the legitimate secular
      purposes of solemnizing public occasions, expressing confidence in
      the future, and encouraging the recognition of what is worthy of
      appreciation in society. For that reason, and because of their history
      and ubiquity, those practices are not understood as conveying
      government approval of particular religious beliefs.


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465 U.S. at 693 (O’Connor, J., concurring); see also County of Allegheny, 492 U.S.

at 603-04 (again expressing the belief that the national motto poses no

Establishment Clause problems).

      Justice Brennan, perhaps one of the Court’s strictest separationists, also

thought that the national motto was constitutional:

      [S]uch practices as the designation of “In God We Trust” as our
      national motto . . . can best be understood . . . as a form of
      “ceremonial deism” protected from Establishment Clause scrutiny
      chiefly because they have lost through rote repetition any significant
      religious content. Moreover, these references are uniquely suited to
      serve such wholly secular purposes as solemnizing public occasions,
      or inspiring commitment to meet some national challenge in a manner
      that simply could not be fully served in our culture if government
      were limited to purely nonreligious phrases. The practices by which
      the government has long acknowledged religion are therefore
      probably necessary to serve certain secular functions, and that
      necessity, coupled with their long history, gives those practices an
      essentially secular meaning.

Lynch, 465 U.S. at 716-17 (Brennan, J., dissenting) (citations omitted); see

Schempp, 374 U.S. at 303 (stating the motto is interwoven “so deeply into the

fabric of our civil polity that its present use may well not present that type of

involvement which the First Amendment prohibits”).

      In every instance in which the Court or individual Justices have addressed

patriotic exercises with religious references, including the Motto and the Pledge,

they have concluded unequivocally that those references are constitutional. No

Member of the Court, past or current, has suggested otherwise. To the contrary,


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recognizing that certain of its precedents may create the impression that patriotic

exercises with religious references would be constitutionally suspect, the Court has

taken pains to assure that such is not the case.

      In Allegheny County, Justice Blackmun, writing for the Court and joined by

Justices Marshall, Brennan, Stevens, and O’Connor, referred directly to the

constitutionality of the Motto and the Pledge:

      Our previous opinions have considered in dicta the motto and the
      pledge, characterizing them as consistent with the proposition that
      government may not communicate an endorsement of religious belief.
      We need not return to the subject of “ceremonial deism,” . . . because
      there is an obvious distinction between creche displays and references
      to God in the motto and the pledge.

492 U.S. at 602-03. The four other Justices in Allegheny, Chief Justice Rehnquist

and Justices Kennedy, White, and Scalia, explained that striking down traditions

like the Motto or the Pledge would be a disturbing departure from the Court’s

cases upholding the constitutionality of government practices recognizing the

nation’s religious heritage:

      Taken to its logical extreme, some [statements in the Court’s past
      opinions] would require a relentless extirpation of all contact between
      government and religion. But that is not the history or the purpose of
      the Establishment Clause. Government policies of accommodation,
      acknowledgment, and support for religion are an accepted part of our
      political and cultural heritage. . . . “[W]e must be careful to avoid the
      hazards of placing too much weight on a few words or phrases of the
      Court,” and so we have “declined to construe the Religion Clauses
      with a literalness that would undermine the ultimate constitutional
      objective as illuminated by history.”



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Id. at 657 (Kennedy, J., concurring in part and dissenting in part) (quoting Walz v.

Tax Comm’n of New York City, 397 U.S. 664, 670-71 (1970)).

      B.     Lower Courts Uniformly Have Upheld the Constitutionality of the
             National Motto and the Pledge of Allegiance.

      Every lower court that has decided the issue has held that the national motto

presents no Establishment Clause concerns, and the majority of lower courts that

have decided have held the same regarding the Pledge. This is not surprising, given

overwhelming approval of the national motto and the Pledge of Allegiance by the

Supreme Court and individual Justices. As the Seventh Circuit stated in Sherman v.

Community Consol. School Dist. 21, 980 F. 2d 437 (7th Cir. 1992), “If the

[Supreme] Court proclaims that a practice is consistent with the establishment

clause, we take its assurances seriously. If the Justices are just pulling our leg, let

them say so.” 980 F.2d at 448. Thus, the Seventh Circuit explained that a

mechanistic application of all Establishment Clause tests is unnecessary when the

Supreme Court has already spoken so clearly on the issue. Id.

      The Ninth Circuit sustained the constitutionality of the national motto in

Aronow v. United States, 432 F. 2d 242 (9th Cir. 1970). Similar to Plaintiffs, the

Plaintiff in Aronow challenged the constitutionality of federal statutes requiring the

national motto to be inscribed on U.S. currency. In a two-page opinion, the Ninth

Circuit dismissed the plaintiff’s claim, concluding brusquely that

      [i]t is quite obvious that the national motto and the slogan on coinage


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      and currency “In God We Trust” has nothing whatsoever to do with
      the establishment of religion. Its use is of a patriotic or ceremonial
      character and bears no true resemblance to a governmental
      sponsorship of a religious exercise. . . . While “ceremonial” and
      “patriotic” may not be particularly apt words to describe the category
      of the national motto, it is excluded from First Amendment
      significance because the motto has no theological or ritualistic impact.

432 F.2d at 243. Relying on Supreme Court precedent, the court in Aronow

explained that legislation would only violate the Establishment Clause where its

purpose—evidenced facially, through legislative history, or in effect—is to use the

state’s coercive power to aid religion. Id. at 244 (citing McGowan v. Maryland,

366 U.S. 420 (1961)). After considering congressional intent10 and societal impact,

the court concluded that the motto had no such purpose. Id.

      Relying on Aranow, the Tenth Circuit also rejected an Establishment Clause

challenge to the use of the national motto and its reproduction on United States

currency. Gaylor v. United States, 74 F.3d 214 (10th Cir. 1996). The court in

Gaylor considered itself bound by the Supreme Court’s various dicta on the

constitutionality of the national motto “almost as firmly as by the Court’s outright

holdings, particularly when the dicta is recent and not enfeebled by later

statements.” Id. at 217. Applying the Lemon test first, the court found that all three

parts were easily met:

10
  Id. (“It will be of great spiritual and psychological value to our country to have a
clearly designated national motto of inspirational quality in plain, popularly
accepted English.” House Report No. 84-1959, 1956 Cong. & Admin. News, p.
3720).

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      The statutes establishing the national motto and directing its
      reproduction on U.S. currency clearly have a secular purpose. The
      motto symbolizes the historical role of religion in our society,
      formalizes our medium of exchange, fosters patriotism, and expresses
      confidence in the future. The motto’s primary effect is not to advance
      religion; instead, it is a form of “ceremonial deism” which through
      historical usage and ubiquity cannot be reasonably understood to
      convey government approval of religious belief. Finally, the motto
      does not create an intimate relationship of the type that suggests
      unconstitutional entanglement of church and state.

Id. at 216 (internal citations omitted). The court then applied the endorsement test,

considering the motto and its use on currency from the perspective of the

reasonable observer. Noting that a reasonable observer must be deemed to be

aware of the purpose, context, and history of the phrase “In God We Trust,” the

court held that the reasonable observer would not consider its use or its

reproduction on U.S. currency to be an endorsement of religion. Id. at 217; cf.

ACLU v. Capitol Square Review & Advisory Bd., 243 F.3d 289, 291-310 (6th Cir.

2001) (upholding Ohio’s state motto, “In God, All Things Are Possible,” against

Establishment Clause attack).

      A number of district courts have also relied on Aronow to hold that the

federal statutes requiring the national motto to be printed on the nation’s currency

are constitutional.11 In O’Hair v. Murray, 462 F. Supp. 19 (W.D. Tex. 1978), aff’d

per curiam, 588 F.2d 1144 (5th Cir. 1978), the court, in a one-page opinion, quoted

11
  In addition, many federal courts have referred in dicta to the probable
constitutionality of the national motto. See, e.g., ACLU v. McCreary County, 96 F.
Supp. 2d 679, 688 (E.D. Ky. 2000).

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from Justice Brennan’s concurring opinion in Schempp, 374 U.S. at 303, and

concluded that the national motto “does not infringe on First Amendment rights.”

Id. at 20; see also Lambeth v. Bd. of Comm’rs, 321 F. Supp. 2d 688 (M.D.N.C.

2004) (applying Lemon and upholding the motto); Meyers v. Loudoun County Sch.

Bd., 251 F. Supp. 2d 1262 (E.D. Va. 2003) (relying on Aronow and Gaylor to hold

that the motto’s reference to God does not make the statement religious and

recognizing Supreme Court dicta stating that the motto does not violate the

Constitution); Schmidt v. Cline, 127 F. Supp. 2d 1169 (D. Kan. 2000) (relying on

Aronow and Gaylor to hold that plaintiff’s Establishment Clause argument was

meritless because the motto is not an encouragement of any particular religion).

Similarly, in Opinion of the Justices, Supreme Court of New Hampshire, 228 A.2d

161, 164 (N.H. 1967), the Supreme Court of New Hampshire advised the New

Hampshire Senate that a proposed resolution requiring all public schools to display

in every classroom a plaque with the national motto inscribed on it would “not

offend the Establishment Clause of the First Amendment.”

      The Pledge finds similar support in decisions of the lower federal courts.

Most significantly, the Seventh Circuit in Sherman applied the analysis sketched

out above to hold that an Illinois law requiring recitation of the Pledge in public

schools does not violate the Establishment Clause. See 980 F.2d at 445-48. The

court found that the Pledge’s reference to God was of a piece with the tradition of



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references to God in civic life that stretches back to this nation’s founding. See id.

at 445-56. The court also found that the treatment of the Pledge’s reference to God

by the Supreme Court and individual Justices foreclosed the conclusion that the

Pledge violates the Establishment Clause. Id. at 446-48.

      Other federal courts have upheld the Pledge from Establishment Clause

attacks. The Fourth Circuit, in Meyers v. Loudon County Public Schools, 418 F.3d

395 (4th Cir. 2005), upheld a Virginia statute requiring a daily voluntary recitation

of the Pledge of Allegiance in schools “[b]ecause the Pledge is not a religious

exercise and does not threaten an establishment of religion.” Id. at 397. The court

determined that the Pledge is a “patriotic” exercise. Id. at 407. The court stated that

“[t]he inclusion of [‘under God’] does not alter the nature of the Pledge as a

patriotic activity.” Id. Thus, “[e]ven assuming that the recitation of the Pledge

contains a risk of indirect coercion, the indirect coercion is not threatening to

establish religion, but patriotism.” Id. at 408.

      The notion that official acknowledgements of religion and its role in
      the founding of our nation such as that in the Pledge “pose a real
      danger of establishment of a state church” is simply “farfetched.” The
      Establishment Clause works to bar “sponsorship, financial support,
      and active involvement of the sovereign in religious activity.” The
      Pledge, which is not a religious exercise, poses none of these harms
      and does not amount to an establishment of religion.

Id. (citations omitted). The Fifth Circuit in dicta has likewise affirmed the patriotic

nature of the Pledge, stating, “[r]eferences to God in a motto or pledge, for



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example, have withstood constitutional scrutiny; they constitute permissible

‘ceremonial deism’ and do not give an impression of government approval.” Doe

v. Tangipahoa Parish Sch. Bd., 473 F.3d 188, 198 (5th Cir. 2006), vacated on

other grounds by 494 F.3d 494 (5th Cir. 2007) (en banc).

      Most recently, a district court in the First Circuit rejected a challenge

brought by Plaintiff in this case, the Freedom From Religion Foundation, which

objected to the words “under God” in the Pledge and its voluntary recitation in

school. Freedom from Religion Found. v. Hanover Sch. Dist., No. 07-cv-356-SM,

2009 U.S. Dist. LEXIS 90555 (D.N.H. Sept. 30, 2009). The court held that a New

Hampshire statute, requiring the Pledge to be administered by school teachers, did

not infringe upon the Establishment Clause, but rather, served a secular legislative

purpose and “was enacted to enhance instruction in the Nation’s history and foster

a sense of patriotism.” Id. At *21. Citing the analysis in Meyers, the court declared

the Pledge to be “a civic patriotic statement—an affirmation of adherence to the

principles for which the Nation stands.” Id. at *24. The court further explained

that “the Constitution prohibits the government from establishing a religion . . . . It

does not mandate that government refrain from all civic, cultural, and historic

references to a God.” Id. at *30 (emphasis added).

      Indeed, as Chief Justice Rehnquist noted in Elk Grove, the only limitation

that the Supreme Court and lower courts have placed on the recitation of the



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Pledge is that recitation must be voluntary. 542 U.S. at 30-32 (Rehnquist, C.J.,

concurring). Requiring involuntary participation violates the First Amendment

Free Speech clause. W. Va. State Bd. of Educ. v. Burnette, 319 U.S. 624 (1943);

see Circle Sch. v. Pappert, 381 F.2d 172 (3d Cir. 2004) (requiring a student to

obtain a parent’s permission before opting out of reciting the Pledge violates the

Free Speech Clause); see also Sherman, 980 F.2d at 442-44 (holding that an

Illinois’ statute requiring daily recitation of the Pledge at elementary schools did

not violate the Free Speech Clause because the court construed the statute to

require only “willing pupils” to recite the Pledge).12 No such free speech problem

exists in this case because merely engraving the Pledge on a building’s wall does

not require anyone to recite, or even read, the Pledge.

                                  CONCLUSION

      Under existing case law, there is very little upon which to stake an argument

that displaying either the national motto or the Pledge of Allegiance violates the

Establishment Clause. All authority on point is against such a contention. The


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  The Ninth Circuit, in Newdow v. Elk Grove Unified Sch. Dist., 328 F.3d 466 (9th
Cir. 2002), did hold that requiring students to recite the Pledge violates the
Establishment Clause because of the Pledge’s reference to God. However, the
Supreme Court vacated the Ninth Circuit’s decision on standing grounds. Elk
Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1 (2004). In any event, the Ninth
Circuit’s decision in Newdow was inconsistent with the Seventh Circuit’s decision
in Sherman as well as the pronouncements we have noted above concerning the
Pledge made by the Supreme Court and individual Justices. Therefore, the Ninth
Circuit’s Newdow decision has no bearing on this case.

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Establishment Clause was never intended as a guarantee that a person will not be

exposed to religion or religious symbols on public property, and the Supreme

Court has rejected previous attempts to eradicate all symbols of this country’s

religious heritage from the public’s view. Although enterprising plaintiffs can find

support for just about any proposition in the Court’s multifarious Establishment

Clause pronouncements, a claim that display of the national motto or the Pledge of

Allegiance violates the First Amendment borders on frivolous.

      For the foregoing reasons, Amici Curiae respectfully urge this Court to grant

Defendant’s motion to dismiss Plaintiffs’ claims.

      Respectfully submitted this 19th day of November, 2009,

/s/ Geoffrey R. Surtees                             Jay Alan Sekulow*
Geoffrey R. Surtees                                 Stuart J. Roth*
       Counsel of Record                            Shannon B. Demos*
AMERICAN CENTER FOR LAW &                           AMERICAN CENTER FOR LAW &
    JUSTICE                                            JUSTICE
6375 New Hope Rd.                                   201 Maryland Ave., NE
New Hope, KY 40052                                  Washington, DC 20002
Phone: (502) 549-7020                               Phone: (202) 546-8890
Fax: (502) 549-7110                                 Fax: (202) 546-9309

                                                    * - Not admitted in this court

                                Counsel for Amici




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                          CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2009, I electronically filed a copy of

the foregoing Brief Amici Curiae using the ECF System for the Western District of

Wisconsin, which will send notification of that filing to all counsel of record in this

litigation.

Dated November 19, 2009

/s/ Geoffrey R. Surtees
Geoffrey R. Surtees
Counsel for Amici




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